         Case 2:16-ap-01337-ER               Doc 214 Filed 04/03/19 Entered 04/03/19 12:22:02                               Desc
                                               Main Document    Page 1 of 5

Attorney or Party Name, Address, Telephone & FAX                      FOR COURT USE ONLY
Nos., State Bar No. & Email Address

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Gail S. Greenwood (CA SBN 169939)
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     Individual appearing without attorney
     Attorney for: Bradley D. Sharp, Plan Administrator
     under the Confirmed First Amended Chapter 11 Plan
     of Liquidation Dated January 31, 2018 for Liberty
     Asset Management Corporation
                                     UNITED STATES BANKRUPTCY COURT
                        CENTRAL DISTRICT OF CALIFORNIA - LOS ANGELES DIVISION

In re:                                                                CASE NO.: 2:16-bk-13575-ER

LIBERTY ASSET MANAGEMENT CORPORATION,                                 ADVERSARY NO.: 2:16-ap-01337-ER
a California Corporation
                                                                      CHAPTER: 11
                                                        Debtor(s).

BRADLEY D. SHARP, Plan Administrator Under The                                        JOINT STATUS REPORT
Confirmed First Amended Chapter 11 Plan of Liquidation                                   [LBR 7016-1(a)(2)]
Dated January 31, 2018 for LIBERTY ASSET
MANAGEMENT CORPORATION,

                                                                      DATE: April 16, 2019
                                                       Plaintiff(s). TIME:     10:00 a.m.
                                vs.                                   COURTROOM: 1345
                                                                      ADDRESS: 255 E. Temple Street
                                                                               Los Angeles, CA 90012
LUCY GAO, an individual, and BENJAMIN KIRK, an
individual


                                                    Defendant(s).


The parties submit the following JOINT STATUS REPORT in accordance with LBR 7016-1 (a)(2):

A. PLEADINGS/SERVICE:
    1. Have all parties been served with the complaint/counterclaim/cross-claim, etc.                              Yes          No
       (Claims Documents)?

    2. Have all parties filed and served answers to the Claims Documents?                                          Yes          No
    3. Have all motions addressed to the Claims Documents been resolved?                                          Yes           No

    4. Have counsel met and conferred in compliance with LBR 7026-1?                                               Yes          No

          This form is mandatory. It has been approved for use in the United States Bankruptcy Court for the Central District of California.
December 2015                                                        Page 1                                      F 7016-1.STATUS.REPORT
DOCS_SF:100561.1 52593/003
         Case 2:16-ap-01337-ER               Doc 214 Filed 04/03/19 Entered 04/03/19 12:22:02                               Desc
                                               Main Document    Page 2 of 5
    5. If your answer to any of the four preceding questions is anything other than an unqualified “YES,” please
       explain below (or on attached page):




B. READINESS FOR TRIAL:

    1.        When will you be ready for trial in this case?
                                 Plaintiff                                                   Defendant
              February 2020



    2. If your answer to the above is more than 4 months after the summons issued in this case, give reasons for further
       delay.
                                Plaintiff                                     Defendant
         The case is remanded on the issues of breach of fiduciary
         duties and failure to account. Plaintiff requires additional
         discovery as to each issue and will seek an order compelling
         an accounting by Defendants with respect to estate assets
         prior to trial.




    3. When do you expect to complete your discovery efforts?
                              Plaintiff                                                      Defendant
       November 30, 2019



    4. What additional discovery do you require to prepare for trial?
                               Plaintiff                                                     Defendant

          Written Discovery
          Depositions



C. TRIAL TIME:

    1. What is your estimate of the time required to present your side of the case at trial (including rebuttal stage if
       applicable)?
                               Plaintiff                                         Defendant
       3 days



    2. How many witnesses do you intend to call at trial (including opposing parties)?
                            Plaintiff                                            Defendant
          10 witnesses




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December 2015                                                        Page 2                                      F 7016-1.STATUS.REPORT
DOCS_SF:100561.1 52593/003
        Case 2:16-ap-01337-ER                Doc 214 Filed 04/03/19 Entered 04/03/19 12:22:02                               Desc
                                               Main Document    Page 3 of 5
    3. How many exhibits do you anticipate using at trial?
                             Plaintiff                                                       Defendant
       75-100 exhibits



D. PRETRIAL CONFERENCE:

    A pretrial conference is usually conducted between a week to a month before trial, at which time a pretrial order will
    be signed by the court. [See LBR 7016-1.] If you believe that a pre-trial conference is not necessary or appropriate in
    this case, please so note below, stating your reasons:

                               Plaintiff                                                         Defendant
      Pretrial conference        is      is not requested               Pretrial conference       is    is not requested
      Reasons:                                                          Reasons:




                                 Plaintiff                                                        Defendant
      Pretrial conference should be set after:                          Pretrial conference should be set after:
      (date) 1/15/2020                                                  (date)


E. SETTLEMENT:

    1. What is the status of settlement efforts?

         Informal discussions are ongoing.



    2. Has this dispute been formally mediated?                   Yes            No
       If so, when?



    3. Do you want this matter sent to mediation at this time?

                                Plaintiff                                                         Defendant

                                Yes          No                                                   Yes         No




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December 2015                                                        Page 3                                      F 7016-1.STATUS.REPORT
DOCS_SF:100561.1 52593/003
        Case 2:16-ap-01337-ER                Doc 214 Filed 04/03/19 Entered 04/03/19 12:22:02                               Desc
                                               Main Document    Page 4 of 5
F. FINAL JUDGMENT/ORDER:

     Any party who contests the bankruptcy court’s authority to enter a final judgment and/or order in this adversary
     proceeding must raise its objection below. Failure to select either box below may be deemed consent.

                             Plaintiff                                                          Defendant
      I     do consent                                                        I     do consent
      I     do not consent                                                    I     do not consent
      to the bankruptcy court’s entry of a final judgment and/or              to the bankruptcy court’s entry of a final judgment
      order in this adversary proceeding.                                     and/or order in this adversary proceeding.

G.   ADDITIONAL COMMENTS/RECOMMENDATIONS RE TRIAL: (Use additional page if necessary)

     By Order dated February 8, 2019, the District Court reversed and remanded the Bankruptcy Court’s summary
     adjudication of liability against Gao and Kirk, which was the basis for a Judgment in favor of the estate and against
     Gao and Kirk, jointly and severally, in the amount of $74.1 million. The Plan Administrator must depose Gao
     regarding, among other matters, questions to which she invoked her Fifth Amendment privilege against self-
     incrimination at a Rule 341 meeting of creditors (including her employment, job functions, responsibilities, assets
     purchased using investor funds, and proceeds from the Geary sale). The Plan Administrator anticipates written
     discovery regarding his claims for breach of fiduciary duties and accounting. To the extent that the issues are more
     complicated than was previously submitted on summary adjudication, the Plan Administrator may offer expert
     testimony to support liability and damages.

     The Plan Administrator has reached a tentative settlement agreement with Kirk for which signatures are pending. A
     Notice of Compromise will be filed upon receipt of the signatures, and Kirk will be dismissed from this adversary
     proceeding only upon receipt of full payment on or after June 30, 2019. Absent a fully executed settlement and good
     faith performance, Kirk will remain a defendant and subject to discovery and litigation.




Respectfully submitted,

Date: April 3, 2019

Pachulski Stang Ziehl & Jones LLP
Printed name of law firm


/s/ Gail S. Greenwood
Signature

Gail S. Greenwood
Printed name

Attorney for: Bradley D. Sharp, Plan Administrator




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December 2015                                                        Page 4                                      F 7016-1.STATUS.REPORT
DOCS_SF:100561.1 52593/003
          Case 2:16-ap-01337-ER               Doc 214 Filed 04/03/19 Entered 04/03/19 12:22:02                    Desc
                                                Main Document    Page 5 of 5
                                       PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
150 California Street, 15th Floor San Francisco, California 94111.


A true and correct copy of the foregoing document entitled: JOINT STATUS REPORT [LBR 7016-1 (a)(2)] will be served or
was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in the manner stated
below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General Orders
and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
April 3, 2019     , I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the
following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:

       Gail S Greenwood ggreenwood@pszjlaw.com, rrosales@pszjlaw.com
       Mitchell B Ludwig mbl@kpclegal.com
       Jeremy V Richards jrichards@pszjlaw.com, bdassa@pszjlaw.com;imorris@pszjlaw.com
       Timothy J Silverman tsilverman@scheerlawgroup.com
       Derrick Talerico dtalerico@ztlegal.com, maraki@ztlegal.com,sfritz@ztlegal.com
       United States Trustee (LA) ustpregion16.la.ecf@usdoj.gov
       Stephen R Wade srw@srwadelaw.com, reception@srwadelaw.com
       James S Yan jsyan@msn.com

                                                                           Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On (date) April 3, 2019       , I served the following persons and/or entities at the last known addresses in this bankruptcy
case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail, first
class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the judge will
be completed no later than 24 hours after the document is filed.

Benjamin Kirk
2648 E. Workman Ave.
#3001-263
West Covina, CA 91791



                                                                           Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date)      April __, 2019 , I served the
following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to such
service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration that personal
delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is filed.

 PERSONAL DELIVERY                                               By Email:
 Honorable Ernest M. Robles                                      Lucy Gao lucyg3131@gmail.com
 U.S. Bankruptcy Court, Central District of California
 Edward R. Roybal Federal Building and Courthouse
 255 E. Temple Street, Suite 1560 / Courtroom 1568
 Los Angeles, CA 90012

                                                                           Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.
 April 3, 2019                                Hung Phan                               /s/ Hung Phan
 Date                          Printed Name                                   Signature

                                                             Page 5
  DOCS_SF:100561.1 52593/003
